                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:06cr250-4


UNITED STATES OF AMERICA                              )
                                                      )
Vs.                                                   )               ORDER
                                                      )
ALEJANDRO FLORES.                                     )
______________________________________                )


        THIS CAUSE coming on to be heard and being heard before the undersigned on October

23, 2006 and it appearing to the court at the call of this matter on for hearing that V. Lamar Gudger,

III was making a general appearance as retained counsel for the defendant and that Mr. Gudger

advised that he was making a general appearance for the defendant for all District Court purposes.

Thereupon, defendant’s appointed counsel, R. Edward Hensley, Jr., made an oral motion for

permission to withdraw as counsel for the defendant. For good cause shown:

                                              ORDER

        IT IS HEREBY ORDERED that R. Edward Hensley, Jr. is hereby ALLOWED to withdraw

as counsel for the defendant in the above entitled matter and is relieved from further responsibility

to represent the defendant in this case.

                                                  Signed: November 6, 2006




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